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                                                       January 30, 2025

VIA ECF
The Honorable Arun Subramanian
United States Magistrate Judge
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

             Re: Primitivo Robles v. Two Buds Enterprise, Inc., d/b/a Two Buds Dispensary
                 1:24-cv-07586(AS)

Honorable Judge Subramanian,

        We represent Plaintiff, Primitivo Robles in the above-referenced Americans with Disabilities
Act (ADA) matter, currently pending in the Southern District of New York. Pursuant to this Court’s
Order dated January 17, 2025, Plaintiff was instructed to seek default against Defendant within two
weeks. However, yesterday, January 29, 2025, we were contacted by the Defendant and have begun
preliminary discussions about settlement and litigation in this matter. Defendant has not yet retained
the services of counsel.

        We respectfully request an adjournment of Plaintiff’s time to move for default and Defendant’s
time to Answer for an additional 30 days to allow the parties to either continue settlement discussions
or to afford Defendant time to retain counsel and interpose an answer.

       Thank you for your time and consideration.

                                                            Sincerely,
                                                            JON L. NORINSBERG, ESQ., PLLC




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